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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:97-cr-00013-MP-AK

WAYNE MATHIS,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 1307, a letter from Wayne Mathis requesting

permission to serve in the military. Unfortunately, this court is without jurisdiction to address

such a request, as defendant has already been sentenced. Accordingly, defendant's request is

dismissed.

       DONE AND ORDERED this             7th day of February, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
